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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                              )
 IEP TECHNOLOGIES, LLC,                       )
                                              )
        Plaintiff,                            )
                                              )
 v.                                           )
                                              )        No. 1:21-cv-10417-JEK
 KPM ANALYTICS, INCORPORATED,                 )
 and KPM ANALYTICS NORTH                      )
 AMERICA CORPORATION,                         )
                                              )
        Defendants.                           )
                                              )

    MEMORANDUM AND ORDER ON PLAINTIFF’S MOTION FOR SUMMARY
  JUDGMENT ON DEFENDANTS’ COUNTERCLAIMS, PLAINTIFF’S MOTION TO
          EXCLUDE, AND DEFENDANTS’ MOTION TO EXCLUDE

KOBICK, J.

       Plaintiff IEP Technologies, LLC filed this action against defendants KPM Analytics,

Incorporated f/k/a Statera Analytics, Incorporated and KPM Analytics North America Corporation

f/k/a Process Sensors Corporation (collectively “KPM”) for allegedly violating IEP’s trademark.

KPM, in response, asserted two counterclaims against IEP, seeking cancellation of that mark due

to fraud and non-use pursuant to Sections 14 and 37 of the Lanham Act, 15 U.S.C. §§ 1064 and

1119. Pending before the Court are (1) IEP’s motion for summary judgment on KPM’s

counterclaims; (2) IEP’s motion to exclude the opinions of two of KPM’s experts; and (3) KPM’s

motion to exclude IEP’s rebuttal expert to those two experts. For the reasons that follow, IEP’s

summary judgment motion will be granted because no reasonable jury could conclude, by clear

and convincing evidence, that IEP knowingly made a material misrepresentation of fact with an

intent to deceive the U.S. Patent and Trademark Office (“USPTO”). Nor could a reasonable jury

conclude, by a preponderance of the evidence, that IEP’s mark has not been used for the goods or
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services specified in the registration. IEP’s motion to exclude KPM’s experts will be granted in

part and denied in part. Those opinions that merely parrot the findings of two spreadsheets

produced by the USPTO in the course of this litigation will be excluded, but the testimony of one

of KPM’s experts regarding the USPTO’s general filing procedures will be allowed. KPM’s

motion to exclude the testimony of IEP’s rebuttal expert will be denied as moot.

                                         BACKGROUND

        The following facts, unless otherwise noted, are either undisputed or recounted in the light

most favorable to KPM, as the non-moving party. Dixon-Tribou v. McDonough, 86 F.4th 453, 458

(1st Cir. 2023). 1

        In December 2014, IEP became the owner of U.S. Trademark Registration No. 4,648,573

(the “’573 Registration”), which is a mark that “‘consists of a hexagonal shape.’” ECF 244, ¶¶ 1,

4. The ’573 Registration lists goods and services in Classes 9, 37, and 42. Id. ¶ 2. As relevant here,

Class 9 consists of “safety hardware systems comprised of detectors, electronic control units,

suppressors, isolation valves, and vents sold as a unit for use in detecting explosives.” Id.

(capitalization omitted). Class 42 concerns “new product research and design services in the field

of safety equipment and hardware.” Id. (capitalization omitted).




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      KPM objects that certain material cited by IEP “to support . . . a fact cannot be presented in
a form that would be admissible in evidence,” including unverified interrogatory responses, IEP’s
emails, and other documents that allegedly contain hearsay. Fed. R. Civ. P. 56(c)(2); see ECF 242,
at 2-3. IEP has, however, met its burden “to explain the admissible form that is anticipated” for
this challenged evidence by articulating that it could authenticate such material through a live
witness at trial. Grace v. Bd. of Trustees, Brooke E. Bos., 85 F.4th 1, 5 n.1 (1st Cir. 2023); see ECF
261, at 3; Diaz v. City of Somerville, 583 F. Supp. 3d 296, 302 (D. Mass. 2022) (“Although a sworn
affidavit is unnecessary, some showing is required” to “explain the admissible form that is
anticipated for trial.” (quotation marks omitted)), aff’d, 59 F.4th 24 (1st Cir. 2023). KPM’s
objection is therefore rejected.


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       In November 2020, IEP submitted to the USPTO a combined declaration of continued use

and incontestability under Sections 8 and 15 of the Lanham Act, respectively, for its ’573

Registration. Id. ¶ 11; see 15 U.S.C. §§ 1058, 1065. The declaration bears the signature of John

Shea, IEP’s then-Vice President and current Co-President of its Explosion Protection Business

Unit, but the parties dispute whether he actually signed it. ECF 244, ¶¶ 3, 7. IEP contends that he

did, while KPM asserts that a paralegal from IEP’s then-trademark counsel, Whitmyer IP Group,

likely signed the declaration. Id. ¶¶ 7, 14; ECF 242, at 19. In addition to the signature issue, KPM

also argues that (1) the declaration included an invalid specimen of IEP’s trademark, and (2) both

the declaration and IEP’s initial application for the ’573 Registration improperly claimed use for

certain goods or services that it did not and does not use in commerce. ECF 244, ¶¶ 15-28; ECF

222, at 7; ECF 242, at 5.

       In March 2022, one year after this lawsuit began, KPM asserted two counterclaims against

IEP based on these three arguments. ECF 38, at 13-30; ECF 1. KPM seeks cancellation of IEP’s

’573 Registration under 15 U.S.C. §§ 1064 and 1119 for alleged fraud in obtaining and maintaining

the Registration (Count I) and for alleged non-use of goods and services identified in the

Registration (Count II). ECF 38, at 28-30, ¶¶ 69-81. In July 2024, IEP moved for summary

judgment on the counterclaims and filed a motion to exclude the opinions of two of KPM’s experts:

Amanda Hyland, its trademark procedure expert, and Greg Kelley, its forensic document expert.

ECF 218, 221. KPM also moved to exclude the opinion of Dr. Gavin Manes, IEP’s rebuttal expert

to Hyland and Kelley. ECF 208. After a hearing, the Court took these three motions under

advisement. ECF 284.




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                                          DISCUSSION

I.     Motions to Exclude Expert Testimony.

       Federal Rule of Evidence 702 governs the admissibility of expert opinion evidence. It

provides as follows:

       A witness who is qualified as an expert by knowledge, skill, experience, training,
       or education may testify in the form of an opinion or otherwise if the proponent
       demonstrates to the court that it is more likely than not that:

       (a) the expert’s scientific, technical, or other specialized knowledge will help the
           trier of fact to understand the evidence or to determine a fact in issue;

       (b) the testimony is based on sufficient facts or data;

       (c) the testimony is the product of reliable principles and methods; and

       (d) the expert’s opinion reflects a reliable application of the principles and methods
           to the facts of the case.

Fed. R. Evid. 702. Under the rule, “the critical questions of the sufficiency of an expert’s basis,

and the application of the expert’s methodology, are questions of” admissibility, not weight. Fed.

R. Evid. 702, Adv. Comm. Notes 2023 Amendment.

       Consistent with Rule 702, the Supreme Court’s seminal decision in “Daubert establishes

that before admitting expert testimony, the trial court must fulfill its ‘gatekeeping role’ by making

an independent determination that the expert’s proffered scientific knowledge is both reliable and

relevant.” United States v. Phillipos, 849 F.3d 464, 470 (1st Cir. 2017) (quoting Daubert v. Merrell

Dow Pharms., Inc., 509 U.S. 579, 597 (1993)). The “‘focus’ of the inquiry into the admissibility

of expert testimony under Rule 702 ‘must be solely on principles and methodology, not on the

conclusions that they generate.’” Rodríguez v. Hosp. San Cristobal, Inc., 91 F.4th 59, 70 (1st Cir.

2024) (quoting Daubert, 509 U.S. at 595). “This distinction means that ‘[w]hen the factual

underpinning of an expert’s opinion is weak, it is a matter affecting the weight and credibility of




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the testimony’ and thus ‘a question to be resolved by the jury.’” Id. (quoting Milward v. Acuity

Specialty Prods. Grp., Inc., 639 F.3d 11, 22 (1st Cir. 2011)). However, “nothing in either Daubert

or the Federal Rules of Evidence requires a district court to admit opinion evidence that is

connected to existing data only by the ipse dixit of the expert.” Gen. Elec. Co. v. Joiner, 522 U.S.

136, 146 (1997). “Daubert made clear that to be admissible under Rule 702, an expert’s opinion

‘must be supported by appropriate validation’ and rest on ‘more than subjective belief or

unsupported speculation.’” Rodríguez, 91 F.4th at 70 (quoting Daubert, 509 U.S. at 590).

       Both parties’ Daubert motions concern expert testimony regarding two Excel

spreadsheets—a signature log and a submission log—that the USPTO produced in response to a

subpoena from KPM. Those spreadsheets note that the IP addresses in the signature log report and

the associated submission log report are “the same,” which “indicates that the person who signed

the filing did so from the same IP address as the person who sent the signature request.” ECF 110,

at 4 (emphasis and quotation marks omitted); ECF 244, ¶ 7. Based on her review of the

spreadsheets and the filing history for the ’573 Registration, Hyland opines that the combined

Section 8 and 15 declaration was signed and submitted by the same IP address, indicating that the

same person signed and submitted the declaration. See ECF 219-1, ¶¶ 34, 38; ECF 219, at 3-4.

Kelley similarly opines that the declaration was signed and submitted by the same IP address,

which was linked with IEP’s paralegal. See ECF 219-2, at 9; ECF 219, at 3-4. IEP contends that

Hyland’s and Kelley’s opinions should be excluded in their entirety because they simply parrot

the spreadsheets’ determination about the applicable IP address to conclude that IEP’s Section 8

and 15 declaration was signed by the paralegal, not Shea. The Court agrees in part.

       While an expert may rely on outside sources, “‘the entirety of [that expert’s] testimony

cannot be the mere repetition of the out-of-court statements of others.’” United States v. Tavares,




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843 F.3d 1, 7 (1st Cir. 2016) (quoting United States v. Luna, 649 F.3d 91, 105 (1st Cir. 2011)); see

Fed. R. Evid. 703. The expert instead “‘must vouchsafe the reliability of the data on which he

relies and explain how the cumulation of that data was consistent with standards of the expert’s

profession.’” Zachar v. Lee, 363 F.3d 70, 76 (1st Cir. 2004) (quoting SMS Sys. Maintenance Servs.,

Inc. v. Digital Equip. Corp., 188 F.3d 11, 25 (1st Cir. 1999)). Hyland and Kelley both fail to meet

these basic requirements. Neither has personal knowledge about how the USPTO created the two

spreadsheets, including where the underlying data came from. And their reports do not “explain

whether the information . . . used in the [spreadsheets] was valid” or “whether the . . . methodology

used to compile these documents corresponded to methods that might be considered legitimate in

[their] discipline[s].” SMS Sys. Maintenance Servs., 188 F.3d at 25. Instead, both simply assume

that the spreadsheets’ assessment about the IP addresses is correct in order to conclude that the

paralegal must have signed IEP’s declaration. Kelley conceded at his deposition that even though

he was proffered as KPM’s forensic expert, he did not forensically review the USPTO’s

spreadsheets or analyze the information contained in them. ECF 219, at 7-8, 12. Hyland similarly

testified that she accepted the spreadsheets as true and merely evaluated them as a layperson. Id.

at 7, 11. Both testified that if any questions arose about the spreadsheets, they would need to ask

the USPTO. Id. at 10. By assuming that the spreadsheets were accurate and then repeating the

spreadsheets’ statements without further analysis, Hyland and Kelley did not “emplo[y] in the

courtroom the same level of intellectual rigor that characterizes the practice of an expert in the

relevant field.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999); see also Trustees of Bos.

Univ. v. Everlight Elecs. Co., 141 F. Supp. 3d 147, 149 (D. Mass. 2015) (because Federal Rule of

Evidence “703 was never intended to allow oblique evasions of the hearsay rule,” an expert

“cannot merely parrot the out-of-court-statements” of others (quotation marks omitted)). The




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entirety of Kelley’s report, as well as Hyland’s opinions on the USPTO’s spreadsheets in

paragraphs 18 through 38 of her report, will accordingly be excluded.

       Hyland also opines on the USPTO’s procedures for filing documents. ECF 234, at 1, 8-10;

see ECF 219-1, ¶¶ 1, 5-17. IEP argues that “the procedure for filing a Section 8 and Section 15

Declaration is a legal issue for the Court, not KPM’s expert.” ECF 219, at 5. But as “an experienced

patent attorney,” Hyland “is qualified to testify as to patent office procedure generally.” Sundance,

Inc. v. DeMonte Fabricating Ltd., 550 F.3d 1356, 1361 n.2 (Fed. Cir. 2008); see ECF 219-1, ¶ 2;

ECF 234, at 9 (collecting cases); Transparent Energy, LLC v. Premiere Mktg., LLC, No. 19-cv-

3022-BT, 2022 WL 1078620, at *1 (N.D. Tex. Jan. 18, 2022) (allowing expert to testify about “the

USPTO’s general processes for granting an application” and “what should be included in a

trademark application”). Accordingly, Hyland’s opinions concerning the USPTO’s procedures,

contained in paragraphs 4 through 17 of her report, will not be excluded.

       KPM separately contends that Dr. Manes’ opinions about the USPTO’s spreadsheets

should be excluded as unhelpful to the jury. At the motion hearing, counsel for IEP acknowledged

that Dr. Manes’ testimony would not be necessary if Hyland’s and Kelley’s opinions regarding the

USPTO’s spreadsheets were excluded, because Dr. Manes was offered as an expert to rebut those

opinions. The Court agrees and therefore will not rely on Dr. Manes’ opinions in its analysis of

IEP’s motion for summary judgment on KPM’s counterclaims. Nevertheless, the Court observes

that unlike Hyland and Kelley, who assumed that the USPTO’s spreadsheets were accurate and

parroted their findings, Dr. Manes analyzed the spreadsheets using forensic methods typical of his

field. His opinions regarding the spreadsheets’ creation and reliability are not speculative, but

rather the product of, among other things, an examination of the spreadsheets’ metadata. ECF 230,

at 4; ECF 230-1, ¶¶ 10, 16, 22-26, 37, 42. By “discuss[ing] in his report the nature of the data and




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its meaning,” Dr. Manes displayed the “‘intellectual rigor’” of a forensic document expert in the

field. SMS Sys. Maintenance Servs., 188 F.3d at 25 (quoting Kumho Tire Co., 526 U.S. at 152);

see LovePop, Inc. v. Paper Pop Cards, Inc., No. 17-cv-11017-NMG, 2019 WL 350762, at *2 (D.

Mass. Jan. 29, 2019) (allowing forensic experts to testify about metadata). Nevertheless, because

Dr. Manes’ testimony served only to rebut the now-excluded opinions of Hyland and Kelley, the

Court will not consider his testimony, and KPM’s motion to exclude Dr. Manes’ opinions will be

denied as moot.

II.       IEP’s Motion for Summary Judgment on KPM’s Counterclaims.

          IEP moves for summary judgment on KPM’s two counterclaims seeking cancellation of

IEP’s ’573 Registration under 15 U.S.C. §§ 1064 and 1119. 2 Summary judgment is appropriate

when, based upon the record, “there is no genuine dispute as to any material fact and the movant

is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A genuine dispute is “one that

must be decided at trial because the evidence, viewed in the light most flattering to the nonmovant,

would permit a rational factfinder to resolve the issue in favor of either party.” Medina-Munoz v.

R.J. Reynolds Tobacco Co., 896 F.2d 5, 8 (1st Cir. 1990) (citation omitted). To prevail, the moving

party must show that “there is no factual determination which a ‘rational factfinder’ could make

as to the ‘existence or nonexistence’ of a fact that ‘has the potential to change the outcome of the

suit.’” Gibson Found., Inc. v. Norris, 88 F.4th 1, 5 (1st Cir. 2023) (quoting Borges ex rel. S.M.B.W.

v. Serrano-Isern, 605 F.3d 1, 4-5 (1st Cir. 2010)). Courts “must consider the record and the

reasonable inferences drawn therefrom in the light most favorable to the nonmovant,” but “need



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     KPM argues that IEP failed to seek leave to file its summary judgment motion on KPM’s
counterclaims, after previously cross-moving for summary judgment on its own claims, and to
confer about this second summary judgment motion. The Court will not deny IEP’s motion for
summary judgment on these procedural grounds and will instead analyze the merits of the motion.


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not credit ‘conclusory allegations, improbable inferences, and unsupported speculation.’” Dixon-

Tribou, 86 F.4th at 458 (quoting Lahens v. AT&T Mobility Puerto Rico, Inc., 28 F.4th 325, 333

(1st Cir. 2022)). The non-moving party may not simply “rest upon mere allegation or denials,” but

instead must “present affirmative evidence.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 256-

57 (1986).

        A.      Fraud.

        KPM’s first counterclaim seeks cancellation of the ’573 Registration pursuant to 15 U.S.C.

§§ 1064 and 1119 because IEP allegedly committed fraud in obtaining and maintaining that

Registration. Since no reasonable jury could conclude, by clear and convincing evidence, that IEP

knowingly made a material misrepresentation of fact with an intent to deceive the USPTO, IEP is

entitled to summary judgment on this counterclaim.

        Section 37 of the Lanham Act “empowers the federal courts to ‘determine the right to

registration [and] order the cancellation of registrations’ in civil cases in which a registered mark

is at issue.” PHC, Inc. v. Pioneer Healthcare, Inc., 75 F.3d 75, 79 (1st Cir. 1996) (quoting 15

U.S.C. § 1119). Under Section 14 of the Lanham Act, “[a] petition to cancel a registration of a

mark . . . may . . . be filed . . . by any person who believes that he is or will be damaged . . . by the

registration of a mark on the principal register . . . [a]t any time if . . . its registration was obtained

fraudulently.” 15 U.S.C. § 1064(3). “‘Fraud in procuring a trademark registration or renewal

occurs when an applicant knowingly makes false, material representations of fact in connection

with his application.’” Great Concepts, LLC v. Chutter, Inc., 90 F.4th 1333, 1337 (Fed. Cir. 2024)

(quoting In re Bose Corp., 580 F.3d 1240, 1243 (Fed. Cir. 2009)). “A party seeking cancellation

of a trademark registration for fraudulent procurement bears a heavy burden of proof.” Bose, 580

F.3d at 1243; accord OTR Wheel Eng’g, Inc. v. W. Worldwide Servs., Inc., 897 F.3d 1008, 1020




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(9th Cir. 2018). To sustain its counterclaims of fraud, KPM must prove by clear and convincing

evidence that (1) IEP made a false representation of a material fact to the USPTO; (2) IEP knew

that the representation was false; (3) IEP intended to deceive the USPTO; and (4) the USPTO

relied on that representation in registering IEP’s mark. SoClean, Inc. v. Sunset Healthcare Sols.,

Inc., 554 F. Supp. 3d 284, 295 (D. Mass. 2021), aff’d, 52 F.4th 1363 (Fed. Cir. 2022); see Galperti,

Inc. v. Galperti S.r.l., 791 F. App’x 905, 909 (Fed. Cir. 2019) (“A trademark applicant commits

fraud when it knowingly makes false, material representations of fact with an intent to deceive the

Patent and Trademark Office.”); Bose, 580 F.3d at 1243.

        No reasonable jury could conclude that KPM can meet this rigorous standard of proof for

all four elements. With respect to the first element, KPM does not identify clear and convincing

evidence of a false representation of a material fact made by IEP. KPM first argues that Shea did

not sign his 2020 declaration. Under the Trademark Manual of Examining Procedure (“TMEP”),

“[t]he person(s) identified as the signatory must manually enter the elements of the electronic

signature,” and “[a]nother person (e.g., paralegal, legal assistant, or secretary) may not sign the

name of a qualified practitioner or other authorized signatory.” TMEP § 611.01(c). KPM

principally relies on the two spreadsheets produced by the USPTO to argue that a paralegal, not

Shea, signed his declaration. Those spreadsheets state that the IP addresses in the signature log

report and the accompanying submission log report are “the same,” which “indicates that the

person who signed the filing did so from the same IP address as the person who sent the signature

request.” 3 ECF 110, at 4 (emphasis and quotation marks omitted); ECF 244, ¶ 7. Since a paralegal



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      IEP identifies inconsistencies in one of those spreadsheets by pointing out, for example, that
“it does not list the signatory name or position (it says ‘NO DATA’) and has a filing date of April
24, 2021, which is over a year after the declaration was submitted to the USPTO by the Whitmyer
IP Group.” ECF 105, at 5 n.7; see ECF 261, at 7 (citing ECF 105, at 4-6). IEP also argues that the
same spreadsheet “only indicates that the person who submitted the signed declaration (the


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at IEP’s former law firm, Whitmyer IP Group, submitted the declaration, KPM claims, that

paralegal likely signed the declaration. ECF 110, at 4; ECF 242, at 17-19; ECF 244, ¶ 14. KPM

also points to Shea’s initial testimony on January 27, 2022 that he did not remember signing the

declaration, was unfamiliar with the Whitmyer IP Group phone number listed as the signatory’s,

and normally capitalizes his name instead of writing it, as the declaration reflects, in lowercase.

ECF 242, at 15-16; ECF 244, ¶ 7.

        Weighing against KPM’s evidence of an invalid signature is extensive testimony and other

documentation. Shea testified on October 25, 2023, as IEP’s corporate representative, that he did

sign the 2020 declaration. ECF 222, at 13; ECF 244, ¶ 7; see also ECF 31-1, ¶ 3 (Shea averring on

March 2, 2022 that he “ha[d] no reason to believe that [he] did not sign [the declaration]”).

Although Shea had originally testified that he could not recall signing the declaration, he revised

that testimony after reviewing emails exchanged at the time the declaration was signed. ECF 261,

at 8. 4 Those emails show that, after IEP’s legal representatives emailed Shea a declaration to sign

on November 23, 2020, he responded that afternoon stating that he had signed the declaration and

attaching a signed version. ECF 105, at 3-4; ECF 244, ¶¶ 6-9. Whitmyer IP Group then submitted

Shea’s declaration about an hour later. ECF 105, at 4; ECF 244, ¶ 10. For her part, the law firm’s




spreadsheet uses ‘signed the filing’, e.g., not ‘signed the declaration’, and refers to the ‘Unique
account of form submitter’) used the same IP address as the person that prepared the declaration.”
ECF 105, at 5 (emphases omitted); see ECF 219, at 4 (citing ECF 105, at 4-5). The spreadsheets
nonetheless provide some evidence to support KPM’s forged signature theory. The Court assumes
in favor of KPM, without deciding, that the spreadsheets could be admissible at trial because, as
explained below, KPM’s evidentiary showing, including those spreadsheets, still falls short of the
requisite heightened standard of proof for fraud. See ECF 242, at 17 n.5; Bose, 580 F.3d at 1243.
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      A third-party expert who analyzed these emails did “not see anything in [them] that
indicate[d] that there might be anything missing or suspicious about [them].” ECF 165 (quotation
marks omitted). The Court similarly found no “indicia of nefarious conduct on IEP’s part.” Id.


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paralegal testified that she has never signed a declaration filed with the USPTO. ECF 222, at 13;

ECF 244, ¶ 14.

       This evidence—including sworn testimony from the two individuals involved and

contemporaneous emails demonstrating that Shea did sign the declaration—is weightier than the

USPTO spreadsheets relied upon by KPM. Although the spreadsheets may be enough on the

preponderance of the evidence standard to create a material dispute of fact as to whether Shea

signed his 2020 declaration, KPM has not submitted enough evidence to create a material dispute

of fact on a clear and convincing evidence standard. Arguing otherwise, KPM principally relies on

Mini Melts, Inc. v. Reckitt Benckiser, Inc., No. 4:07-cv-271, 2009 WL 10677599 (E.D. Tex. Feb.

26, 2009). But in that case, “[t]he parties agree[d] that [an attorney] forged [the] signature [of the

trademark holder’s president] on the Section 8 declaration without any authorization.” Id. at *2.

Here, in contrast, the weight of the evidence indicates that Shea, not the paralegal, signed the 2020

declaration. KPM has not, accordingly, demonstrated clear and convincing evidence that IEP made

a false representation of a material fact to the USPTO by having a paralegal, rather than Shea, sign

the declaration.

       KPM next contends that Shea’s declaration made a false representation because it

contained an improper trademark specimen. The Lanham Act requires that a Section 8 declaration

like Shea’s “be accompanied by such number of specimens or facsimiles showing current use of

the mark in commerce.” 15 U.S.C. § 1058(b)(1)(C); see also TMEP § 1604.12(a) (“An affidavit

or declaration that does not include an acceptable specimen for each class is deficient.”). The

parties agree that IEP submitted the same specimen showing its EX Control Panel product in both

its initial 2014 trademark application and Shea’s subsequent 2020 declaration. ECF 244, ¶¶ 27-




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28; 5 ECF 242, at 12-13; ECF 222, at 14. In KPM’s telling, “it is a legal impossibility for a specimen

submitted as part of . . . [IEP’s] initial application to also be representative of IEP’s current use of

the mark in commerce during the relevant Section 8 period, six years later in 2020.” ECF 242, at

12. Shea testified, however, that the EX Control Panel product was unchanged from 2014 to 2020.

ECF 261, at 12-13. IEP also provided images showing that its mark appeared on that product in

2020 and continues to appear on it to this day. ECF 244, ¶ 28; ECF 222, at 14; ECF 261, at 12; see

In re Sones, 590 F.3d 1282, 1288 (Fed. Cir. 2009) (“[T]he test for an acceptable website-based

specimen, just as any other specimen, is simply that it must in some way evince that the mark is

‘associated’ with the goods and serves as an indicator of source.”). While KPM highlights other

images of “EX 200 Control Panel” with a “Fenwal” logo rather than IEP’s mark, ECF 244, ¶ 28,

IEP responds that those images are irrelevant because they depict a different legal entity, ECF 261,

at 13 n.8. A reasonable jury could not find, based on IEP’s submission of a 2014 photo of a product

still used in commerce in 2020, clear and convincing evidence that IEP made a false representation

of a material fact to the USPTO in its declaration.

         KPM finally asserts that IEP materially misrepresented that it sells “safety hardware

systems . . . for use in detecting explosives” and offers “new product research and design services

in the field of safety equipment and hardware.” ECF 244, ¶ 2 (capitalization omitted). Even

drawing all factual inferences in favor of KPM, the record reflects that IEP does just that. Id. ¶¶ 15-

28. With respect to IEP’s research and design services, the undisputed evidence establishes that

IEP customizes its products and design solutions for each application, and that IEP has a

Combustion Research Center where it offers such solutions. Id. ¶¶ 21-22. IEP’s engineers also use



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      KPM’s response to IEP’s statement of material facts lists paragraph 27 twice. This citation is
to the second paragraph numbered 27. See ECF 223, ¶¶ 28-29.


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a proprietary Computer Modeled System Design to develop protection solutions tailored to the

needs of individual applications. Id. ¶ 24. KPM’s principal retort is that IEP fails to cite any

admissible evidence and instead relies on IEP’s interrogatory responses and other hearsay

documentation. Id. ¶¶ 21-22, 24. The Court has already rejected that objection, however, because

such evidence could be admissible at trial through a live witness. See supra note 1; Grace, 85 F.4th

at 5 n.1. KPM also acknowledges that IEP “customizes its own products for its own customers,”

but suggests that this does not qualify as providing new product research and design services in

the field “for others.” ECF 242, at 11. This argument lacks merit and any evidentiary support.

KPM even recognizes that IEP has designed a new infrared detector for a company and new vents

for other customers. ECF 261, at 11 (citing ECF 242, at 9-10). KPM has, therefore, failed to

establish that IEP’s statement about offering “new product research and design services in the field

of safety equipment and hardware” was false. ECF 244, ¶ 2 (capitalization omitted).

          KPM similarly fails to show, by clear and convincing evidence, that IEP’s statement about

selling “safety hardware systems . . . for use in detecting explosives” was untrue. Id. (capitalization

omitted). For its initial application, IEP submitted, as discussed, a specimen of its EX Control

Panel product whose user manual states that “‘[t]he primary function of the control panel is to

continuously monitor for threatening conditions that can lead to an explosion.’” ECF 261, at 8

(quoting ECF 223, ¶ 28). This fact is undisputed because KPM fails to provide any countervailing

evidence and instead, again, relies on its deficient hearsay objection. ECF 244, ¶ 27; 6 see Grace,

85 F.4th at 5 n.1; Fed. R. Civ. P. 56(c)(1)(A) (“A party asserting that a fact . . . is genuinely disputed

must support the assertion by . . . citing to particular parts of materials in the record[.]”). Shea

further averred that “‘IEP’s products detect and mitigate against generally nonexplosive materials,


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        This citation is to the second paragraph numbered 27. See ECF 223, ¶ 28.


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such as dust, which become explosive due to industrial processes.’” ECF 244, ¶ 17 (quoting ECF

31-1, ¶ 5). IEP’s brochure similarly states that explosions can occur due to “‘explosive materials’”

and that, “‘[a]s a rule, if a material can burn, under the right conditions, it can and will explode.’”

Id. ¶ 18. IEP’s then-CEO, Randy Davis, also testified that the goods and services listed in its 2014

application were accurate. ECF 222, at 8; see Bose, 580 F.3d at 1246 (Because “Sullivan testified

under oath that he believed the statement was true at the time he signed the renewal application,”

“the challenger [must] point to evidence to support an inference of deceptive intent . . . to satisfy

the clear and convincing evidence standard required to establish a fraud claim.”).

       KPM counters that certain deposition testimony undercuts IEP’s registration statement. See

ECF 242, at 5-9. But KPM’s parsing of limited deposition testimony does not satisfy its heavy

burden to establish that IEP’s statement about selling “safety hardware systems . . . for use in

detecting explosives” was false. ECF 244, ¶ 2 (capitalization omitted). As the Federal Circuit has

explained, “[t]here is no room for speculation, inference or surmise,” and “any doubt must be

resolved against the charging party.” Bose, 580 F.3d at 1243 (quotation marks omitted). In light of

IEP’s evidence that it sells “safety hardware systems . . . for use in detecting explosives,” and

absent clear and convincing evidence of a material misrepresentation by IEP, KPM cannot sustain

its fraud claim. ECF 244, ¶ 2 (capitalization omitted).

       Nevertheless, even if there were substantial evidence that IEP made a false representation

to the USPTO, KPM has not proffered any evidence—let alone clear and convincing evidence—

to establish that IEP knew that the representation was false or that it intended to deceive the

USPTO. See Bose, 580 F.3d at 1243 (“[A]bsent the requisite intent to mislead the PTO, even a

material misrepresentation would not qualify as fraud under the Lanham Act warranting

cancellation.”); SonicSolutions Algae Control, LLC v. Diversified Power Int’l, LLC, 722 F. Supp.




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3d 16, 51 (D. Mass. 2024) (granting summary judgment in favor of trademark holder where

challenger “point[ed] to no record evidence indicating any specific intent to deceive”); SoClean,

554 F. Supp. 3d at 297 (finding trademark presumptively valid because challenger’s “proof [fell]

far short of establishing by clear and convincing evidence that . . . [the trademark holder] knew

that the representation was false and intended to deceive the examiner by that false

representation”). KPM instead relies on the same, previously discussed evidence to argue that it

“is entitled to a reasonable inference of fraudulent intent on IEP’s part.” ECF 242, at 19. Such an

inference is improper, however, because while “intent can be inferred from indirect and

circumstantial evidence,” “such evidence must still be clear and convincing, and inferences drawn

from lesser evidence cannot satisfy the deceptive intent requirement.” Star Sci., Inc. v. R.J.

Reynolds Tobacco Co., 537 F.3d 1357, 1366 (Fed. Cir. 2008). KPM’s proffered evidence regarding

Shea’s signature and the contents of his declaration falls far short of “indicat[ing] sufficient

culpability to require a finding of intent to deceive.” Kingsdown Med. Consultants, Ltd. v. Hollister

Inc., 863 F.2d 867, 876 (Fed. Cir. 1988).

       Drawing all inferences in favor of KPM, a reasonable jury could not find, by clear and

convincing evidence, that IEP committed fraud on the USPTO. IEP is therefore entitled to

summary judgment on KPM’s first counterclaim.

       B.      Non-Use.

       KPM’s second counterclaim requests cancellation of IEP’s ’573 Registration under 15

U.S.C. §§ 1064 and 1119 due to non-use. According to KPM, “IEP does not and/or has not used

the mark of the ’573 Registration in commerce in connection with” either (1) “safety hardware

systems comprised of detectors, electronic control units, suppressors, isolation valves, and vents

sold as a unit for use in detecting explosives” or (2) “providing new product research and design




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services in the field of safety equipment and hardware to others.” ECF 38, at 30, ¶¶ 78, 80. Because

no reasonable jury could conclude, by a preponderance of the evidence, that IEP’s mark has not

been used for the goods or services specified in that Registration, IEP is entitled to summary

judgment on this counterclaim as well.

        Section 37 of the Lanham Act, as explained, permits courts to “determine the right to

registration [and] order the cancellation of registrations.” 15 U.S.C. § 1119. Section 14 of the

Lanham Act, in turn, allows “any person who believes that he is or will be damaged . . . by the

registration of a mark on the principal register” to file a “petition to cancel a registration of a mark

at “any time if the registered mark . . . has been abandoned.” Id. § 1064(3). “A registration may be

cancelled on grounds of abandonment when the mark has not been used for the goods or services

specified in the registration for at least three years and there is no showing of an intent to resume

use of the mark for those goods or services.” In re Jobdiva, Inc., 843 F.3d 936, 940 (Fed. Cir.

2016) (citing 15 U.S.C. § 1127). “Since service mark registrations are presumed valid, the party

seeking cancellation of such registration must rebut this presumption by a preponderance of the

evidence.” On-Line Careline, Inc. v. Am. Online, Inc., 229 F.3d 1080, 1087 (Fed. Cir. 2000);

accord Cervejaria Petropolis SA v. Ambev S.A., 787 F. App’x 727, 728 (Fed. Cir. 2019).

       KPM fails to meet this standard. Indeed, KPM makes no affirmative effort to show that

IEP has not used its mark for the challenged goods and services for three consecutive years. KPM

instead acknowledges that its arguments to support this counterclaim “are the same as those” that

it previously raised, and the Court rejected, for the first counterclaim. ECF 242, at 20; see ECF

222, at 15. These arguments—about whether IEP’s initial 2014 application for the ’573

Registration and Shea’s subsequent 2020 declaration claimed use for certain goods or services that

it did not use—fail for the reasons already explained. And IEP has, in any event, produced




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sufficient evidence of having “used the mark during the statutory period.” On-Line Careline, 229

F.3d at 1087. The undisputed record establishes that, consistent with Shea’s 2020 declaration, IEP

has sold and continues to sell the goods and services listed in its 2014 trademark application. ECF

244, ¶ 20; see ECF 222, at 8-11. IEP is accordingly entitled to summary judgment on KPM’s

second counterclaim.

                               CONCLUSIONS AND ORDERS

       For the foregoing reasons, IEP’s motion for summary judgment on KPM’s two

counterclaims, ECF 221, is GRANTED. IEP’s motion to exclude the opinions of KPM’s experts,

Amanda Hyland and Greg Kelley, ECF 218, is GRANTED in part and DENIED in part. Kelley’s

opinions are excluded in their entirety. Hyland’s opinions concerning the spreadsheets produced

by the U.S. Patent and Trademark Office are excluded, but her opinions regarding that agency’s

general filing procedures are not. KPM’s motion to exclude IEP’s rebuttal expert, Dr. Gavin

Manes, ECF 208, is DENIED as moot.

       SO ORDERED.

                                                     /s/ Julia E. Kobick
                                                     JULIA E. KOBICK
Dated: March 3, 2025                                 UNITED STATES DISTRICT JUDGE




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